        Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 1 of 12




 1   Craig B. Friedberg, Esq.
     LAW OFFICES OF CRAIG B. FRIEDBERG, ESQ.
 2   Nevada Bar No. 004606
     4760 South Pecos Road, Suite 103
 3   Las Vegas, Nevada 89121
     (702) 435-7968 – telephone
 4   (702) 825-8071 – facsimile
     attcbf@cox.net
 5
     James J. Parr, Esq.
 6   AGRUSS LAW FIRM, LLC
     Illinois Bar No.: 6317921
 7   4809 N. Ravenswood Avenue, Suite 409
     Chicago, IL 60640
 8   (312) 224-4695 – telephone
     (312) 253-4451 – facsimile
 9   james@agrusslawfirm.com
     Admitted Pro Hac Vice
10

11   Attorneys for Plaintiff, ALICIA STAFFORD

12
                                    UNITED STATES DISTRICT COURT
13                                       DISTRICT OF NEVADA
14
     ALICIA STAFFORD,                 )
15                                    )
                                        Case No.: 2:22−cv−00130−APG−DJA
                Plaintiff,            )
16         v.                         )
                                      )
17
     ASSET RECEIVABLES MANAGEMENT )
18   LLC; IMPERIAL CAPITAL GROUP LLC; )
     and CASCADE CAPITAL, LLC,        )
19                                    )
                Defendants.           )
20
                                      )
21
               PLAINTIFF’S RESPONSE TO THIS HONORABLE COURT’S
22     NOTICE REGARDING INTENTION TO DISMISS PURSUANT TO FRCP 4(m) AND
     REQUEST FOR ADDITIONAL TIME TO SERVE DEFENDANTS, ASSET RECEIVABLES
23
              MANAGEMENT LLC AND IMPERIAL CAPITAL GROUP LLC
24
            Plaintiff, ALICIA STAFFORD (“Plaintiff”), through her undersigned counsel, responds to this
25
     Honorable Court’s Notice Regarding Intention to Dismissal Pursuant to Rule 4(m) of the Federal Rules
26

27   of Civil Procedure, (Doc. No. 10), and requests that the Court grant additional time for Plaintiff to serve

28


                                                         1
         Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 2 of 12




 1   Defendants, Asset Receivables Management, LLC (“Asset”) and Imperial Capital Group, LLC

 2   (“Imperial”), as follows:
 3
         1. To date, Plaintiff has been unsuccessful serving Asset and Imperial with the Summons and
 4
             Complaint.
 5
         2. Plaintiff has been diligent in attempting service of the Summons and Complaint on Asset and
 6

 7           Imperial.

 8       3. Plaintiff has attempted to serve Asset at the address that it has designated with the New York
 9
             Department of State 1 but was unsuccessful because “[t]he whole building is vacant empty all
10
             locked up the outside is a torn up awnings but it’s all empty inside.” (Attached hereto as Exhibit
11
             A is a Proof of [Non-]Service prepared by the process server).
12

13       4. Plaintiff also attempted to serve Asset at a known alternate address but was unsuccessful

14           because:
15
                      This is a bad address. Server entered the building and searched the entire
16                    directory. Targets name was not in the directory. Suite 1102 Is an attorneys
                      office (Battista, Robert ESQ). Server went to suite and was told it was the
17                    wrong address. 1102 is Eastern Abstract of WNY INC (also a satellite office
                      for Battista).
18

19           (Attached hereto as Exhibit B is a Proof of [Non-]Service prepared by the process server).

20       5. Plaintiff has attempted to serve Imperial by way of its registered agent, Jonathan DiMusto, at
21
             the address that it has designated with the North Carolina Secretary of State 2 but was
22
             unsuccessful because Mr. DiMusto apparently did not live there anymore. (Attached hereto as
23
             Exhibit C is a Proof of [Non-]Service prepared by the process server).
24

25

26

27
     1
      Asset is a New York limited liability company and does not appear to be registered with the Nevada Secretary of State.
28
     2
      Asset is a North Carolina limited liability company and does not appear to be registered with the Nevada Secretary of
     State.

                                                                2
        Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 3 of 12




 1      6. Plaintiff also attempted to serve Imperial at a known alternative address for Mr. DiMusto, but

 2          was also unsuccessful because Mr. DiMusto reportedly moved to Mexico.
 3
            (Attached hereto as Exhibit D is email correspondence with the process server).
 4
        7. Plaintiff and her counsel are determined to hold Asset and Imperial accountable for their
 5
            actions, but need additional time to further investigate, track down, and serve Asset and
 6

 7          Imperial and/or explore alternative means of service.

 8      8. Plaintiff’s counsel inadvertently failed to timely file a request for an extension of time to serve
 9
            Asset and Imperial before the ninety-(90)-day timeframe passed pursuant to Federal Rule of
10
            Civil Procedure 4(m).
11
        9. Plaintiff’s undersigned counsel did not intend to disrupt the course of the proceedings and
12

13          apologizes to this Honorable Court for this error and assumes full responsibility.

14      10. Plaintiff and her counsel request that the Court grant Plaintiff and her counsel a retroactive
15
            extension of time, including an additional sixty (60) days from the current date, to serve both
16
            Asset and Imperial with the Summons and Complaint and file proofs of service accordingly.
17
        11. Plaintiff and her undersigned counsel assert that they have shown good cause to be granted their
18

19          requested relief.

20          WHEREFORE, based on the foregoing, Plaintiff, ALICIA STAFFORD, respectfully requests
21
     that this Honorable Court grant Plaintiff and her counsel, a retroactive extension of time, including
22
     sixty (60) additional days from the current date, through July 26, 2022, to both serve Defendants,
23
     ASSET RECEIVABLES MANAGEMENT LLC and IMPERIAL CAPITAL GROUP LLC, with the
24

25

26

27

28


                                                        3
       Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 4 of 12




 1   Summons and Complaint and file proofs of service accordingly.

 2   DATED: May 27, 2022                                 Respectfully submitted,
                                                         AGRUSS LAW FIRM, LLC
 3

 4
                                                By: /s/ James J. Parr
 5                                                      James J. Parr, Esq.
                                                        Illinois Bar No.: 6317921
 6                                                      4809 N. Ravenswood Avenue, Suite 409
 7                                                      Chicago, IL 60640
                                                        (312) 224-4695 – telephone
 8                                                      (312) 253-4451 – facsimile
                                                        james@agrusslawfirm.com
 9                                                      Attorney for Plaintiff
10                                                      Admitted Pro Hac Vice

11

12

13

14                                     ORDER
15
               For good cause appearing therein, the Court grants Plaintiff's
16             request for an additional 60 days within which to serve
               defendants. Accordingly, Plaintiff shall have until July 26,
17             2022 within which to serve defendants. IT IS SO ORDERED.
18
               DATED this 31st day of May, 2022.
19

20

21                                               _________________________________
                                                 DANIEL J. ALBREGTS
22                                               UNITED STATES MAGISTRATE JUDGE
23

24

25

26

27

28


                                                     4
     Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 5 of 12




 1
                               EXHIBIT A
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                 Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 6 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-00130-APG-DJA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

       This summons for (name of individual and title, if any) asset recievables management llc was received by me on (date)
01/31/2022.

                I personally served the summons on the individual at (place)                              on (date)
                                         ; or
                I left the summons at the individual’s residence or usual place of abode with (name)                              ,a
                person of suitable age and discretion who resides there, on (date)                             , and mailed a copy
                to the individual’s last known address; or
                I served the summons on (name of individual)                               , who is designated by law to accept
                service of process on behalf of (name of organization)                             on (date)
                                        ; or
          X     I returned the summons unexecuted because: The whole building is vacant empty all locked up the outside is a
                torn up awnings but it’s all empty inside ; or
                Other:                              ; or

        My fees are $                               for travel and $                        for services, for a total of $ $.

        I declare under penalty of perjury that this information is true.



Date: 01/31/2022



                                                                                          Server's signature
                                                                   Joseph Jeziorowski
                                                                                        Printed name and title


                                                                   1260 Delaware Ave. Buffalo NY 14209
                                                                                           Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Jan 31, 2022, 1:15 pm EST at 4246 ridge rd 61, amherst, ny 14226
The whole building is vacant empty all locked up the outside is a torn up awnings but it’s all empty inside
     Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 7 of 12




 1
                                EXHIBIT B
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                 Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 8 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-00130-APG-DJA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

       This summons for (name of individual and title, if any) asset recievables management llc was received by me on (date)
02/14/2022.

                I personally served the summons on the individual at (place)                            on (date)
                                         ; or
                I left the summons at the individual’s residence or usual place of abode with (name)                            ,a
                person of suitable age and discretion who resides there, on (date)                           , and mailed a copy
                to the individual’s last known address; or
                I served the summons on (name of individual)                            , who is designated by law to accept
                service of process on behalf of (name of organization)                          on (date)
                                        ; or
          X     I returned the summons unexecuted because: This is a bad address. Server entered the building and searched the
                entire directory. Targets name was not in the directory. Suite 1102 Is an attorneys office (Battista, Robert
                ESQ). Server went to suite and was told it was the wrong address. 1102 is Eastern Abstract of WNY INC ( also
                a satellite office for Battista). ; or
                Other:                              ; or

        My fees are $                               for travel and $                     for services, for a total of $ $.

        I declare under penalty of perjury that this information is true.



Date: 02/14/2022



                                                                                        Server's signature
                                                                   DEREK VASQUEZ
                                                                                     Printed name and title


                                                                   1260 Delaware Ave Buffalo NY 14209
                                                                                        Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Feb 14, 2022, 2:16 pm EST at 69 DELAWARE AVE room 1102, BUFFALO, NY 14202-3808
This is a bad address. Server entered the building and searched the entire directory. Targets name was not in the directory.
Suite 1102 Is an attorneys office (Battista, Robert ESQ). Server went to suite and was told it was the wrong address. 1102 is
Eastern Abstract of WNY INC ( also a satellite office for Battista).
     Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 9 of 12




 1
                               EXHIBIT C
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 10 of 12
     Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 11 of 12




 1
                                EXHIBIT D
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
    Case 2:22-cv-00130-APG-DJA Document 12 Filed 05/31/22 Page 12 of 12


From:            MAJESTIC LEGAL
To:              Jackie Laino
Subject:         Re: Service on Imperial c/o DiMusto (Stafford)
Date:            Thursday, February 24, 2022 6:57:16 PM


Moved to Mexico per current resident

Majestic Process Service

From: MAJESTIC LEGAL <majesticlegal@hotmail.com>
Sent: Friday, February 11, 2022 11:52:19 AM
To: Jackie Laino <jackie@agrusslawfirm.com>
Subject: Re: Service on Imperial c/o DiMusto (Stafford)

OK got it

________________________________________
From: Jackie Laino <jackie@agrusslawfirm.com>
Sent: Friday, February 11, 2022 11:51:15 AM
To: majesticlegal@hotmail.com
Subject: Service on Imperial c/o DiMusto (Stafford)

Good morning,

Thanks for taking my call today! Please serve DiMusto at the address below with the attached
documents. Please let me know if you need anything else. If you could confirm receipt, that would
be great.

230 CHERRY ST APT 2714
CHINA GROVE, NC 28023-2354

The address is different than on the summons because we are attempting a 2nd address. Thanks!

Jackie Laino |Senior Paralegal | my bio<https://www.agrusslawfirm.com/our-team/jackie-laino>
4809 N Ravenswood Ave, Suite 419, Chicago, IL 60640
Tel: 312-300-5993 | Fax: 312-253-4451

[cid:image001.png@01D81F35.2AFE3460]<http://www.agrusslawfirm.com/>
